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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION


EMMANUEL BARNES,                                    )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           ) Civil Action No. 4:20-cv-87 TWP-DML
                                                    )
GENERAL MOTORS LLC                                  )
f/k/a GENERAL MOTORS CO.,                           )
                                                    )
               Defendant.                           )

               SECOND AMENDED COMPLAINT WITH JURY DEMAND

       Plaintiff, by counsel, for his Complaint against General Motors Co., states as follows:

                                JURISDICTION AND VENUE

       1.      This suit is brought under the Americans with Disabilities Act (ADA), 42 U.S.C.

§§ 12101-12113, as amended by the ADA Amendments Act (ADAAA) and the Age

Discrimination in Employment Act (ADEA), 29 U.S.C. § 621 et. seq. This Court has jurisdiction

over Plaintiff’s claims pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), 29 U.S.C. § 626, and 42

U.S.C. § 12117(a).

       2.      All acts alleged herein were committed within the Southern District of Indiana

and venue is proper within this District and Division pursuant to 28 U.S.C. § 1391(b).

                                           PARTIES

       3.      Plaintiff Emmanuel Barnes (“Barnes”) was born in 1956. He is a citizen of the

United States and at all relevant times has been a resident of Lawrence County, Indiana.




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        4.     Defendant General Motors LLC f/k/a General Motors Co. (“GM”) is a corporation

which operates a facility known as GM Power Train and/or Bedford Castings Operations in

Bedford, Indiana where it manufactures engine blocks and cylinder heads for certain GM vehicles.

        5.     GM is an “employer” within the meaning of the ADA and the ADEA.

        6.     At all relevant times, Barnes was an “employee” of GM within the meaning of the

ADA and the ADEA. More specifically, Barnes was employed by GM at its Bedford Casting

Operations for forty-one (41) years, from December, 1978 until his termination in September,

2019.

                        PLAINTIFF BARNES’ EMPLOYMENT WITH GM

        7.     Barnes was first employed by GM beginning in December, 1978 as an alloy

technician in the metal melting process. Throughout his employment, Barnes was represented by

the International Union, United Automobile, Aerospace and Agricultural Implement Workers of

America (UAW) and its Local Union 440. As a bargaining unit employee, Barnes was covered by

the collective bargaining agreement between GM and the UAW and entitled to use his seniority to

claim jobs for which he was qualified and shifts which he preferred.

        8.     In or around 2004, Barnes was injured on the job. As a result of this injury, he

sustained a disability which resulted in the imposition of a permanent work restriction in 2005

precluding him from operating motorized vehicles, a category of vehicles which includes forklifts.

        9.     Notwithstanding his disability and work restriction, Barnes continued to work at

the Bedford facility, and his job performance met or exceeded reasonable expectations of his

employer.

        10.    In 2019, Barnes had been working for approximately eight 8 ½ years in the Bedford

facility’s parts department as a receiver/checker, a position also known as crib attendant. His job



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responsibilities included ordering parts, parts distribution, the issuing of parts, inventory auditing

and related tasks.

       11.     In 2019, Barnes worked as a crib attendant on the third shift, and his work schedule

included extensive overtime, both daily overtime during the week as well as weekend overtime.

For the 8 ½ years that he had held the position of crib attendant prior to the spring of 2019, Barnes

performed the job in accordance with his permanent work restriction and did not operate motorized

vehicles, and his work performance met or exceeded GM’s reasonable expectations.

       12.     In or around April, 2019, Barnes’s supervisor, without any request from Barnes,

directed him to go to plant medical. After the visit, Barnes was not permitted to return to his job

as crib attendant because of his medical restriction. He was placed on a 30 day medical leave

which was then followed by a 90 day medical leave. The imposed medical leave caused serious

economic injury to Barnes as the sick leave benefits he received were substantially less than his

wages as a crib attendant.

       13.     Barnes filed grievances protesting GM’s refusal to permit him to return to work and

alleged that GM was discriminating against him because of his medical restrictions.

       14.     Barnes also contacted the Equal Employment Opportunity Commission in August

or early September, 2019 and lodged a complaint of age and disability discrimination against GM.

       15.     Throughout this period, Barnes was able to perform the duties of a crib attendant

as well as other positions for which he was qualified and to which he was entitled by virtue of his

seniority with or without reasonable accommodation.

       16.     GM’s removal of Barnes from the position of crib attendant which he had

satisfactorily performed for approximately 8 ½ years, its placing him on sick leave, a status in

which he suffered a substantial economic loss, and its refusal to permit him to return to a position



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to which he was entitled based on seniority and qualifications were discriminatorily undertaken

and designed to force Barnes to retire.

          17.   In September, GM assigned Barnes to the Die Cast department and directed him to

report to work in that department. Barnes objected to the assignment and submitted a request for

vacation which he had earned and to which he was entitled. GM ignored Barnes’ request for

vacation and terminated him on September 13, 2019.

          18.   GM’s unfair treatment and termination of Barnes was motivated by discrimination

on the basis of disability and/or age and in retaliation for his complaints of discrimination.



                                  ADMINISTRATIVE PROCEDURES

          19.   In or about August or early September, 2019 Barnes was in communication with

representatives of the Equal Employment Opportunity Commission complaining of discrimination

by GM, and on September 6, 2019, Barnes submitted a written complaint of discrimination to the

EEOC. With the assistance of EEOC personnel, the complaint was transformed into a formal

EEOC charge which was filed on or about October 25, 2019.

          20.   On February 11, 2020, the EEOC issued Barnes a Notice of Right to Sue, and

Barnes filed his initial Complaint within ninety (90) days from his receipt of this Notice of Right

to Sue.

          21.   On April 5, 2020, Barnes filed a second charge of discrimination with the EEOC in

which, to the bases for discrimination alleged in his first charge, he added retaliation as a basis for

the discriminatory treatment to which GM had subjected him.




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        22.     On August 8, 2020, the EEOC issued Barnes a Notice of Right to Sue on his second

 charge, and Barnes is filing this Second Amended Complaint within ninety (90) days of his receipt

 of this second Notice of Right to Sue.

                             COUNT I – DISABILITY DISCRIMINATION

        23.     All preceding paragraphs of this Complaint are incorporated herein by this

 reference.

        24.     Barnes is a qualified individual with a disability under the ADA as amended by the

 ADAAA.

        25.     Barnes has a record of a disability and was regarded as having a disability by GM

 within the meaning of the ADA as amended by the ADAAA.

        26.     During the course of his employment with GM, Barnes was an “employee” of GM

 within the meaning of the ADA, 42 U.S.C. § 12111(4), as amended by the ADAAA.

        27.     GM employs approximately 500 employees at the Bedford facility and is an

 “employer” within the meaning of the ADA, 42 U.S.C. § 12111(5), as amended by the ADAAA.

        28.     GM engaged in unlawful discrimination in violation of the ADA, as amended by

 the ADAAA, when it refused to permit Barnes to continue working in the position of crib attendant

 that he had satisfactorily performed for approximately 8½ years and which he could have

 continued to perform with or without a reasonable accommodation.

        29.     GM further engaged in unlawful discrimination in violation of the ADA, as

 amended by the ADAAA, when it terminated Barnes because of his disability, record of disability,

 and perceived disability.




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        30.      GM engaged in discriminatory treatment of Barnes on the basis of disability and

 acted with malice or reckless disregard with respect to Barnes’ rights as an individual with a

 disability in violation of the ADA, as amended by the ADAAA.

                           COUNT II – WILLFUL AGE DISCRIMINATION

        31.      All preceding paragraphs of this Complaint are incorporated herein by this

 reference.

        32.      Over the course of his employment with GM, Barnes met GM’s reasonable

 expectations.

        33.      Nevertheless, between April and September, 2019, GM denied Barnes the

 employment opportunity of full time work in a position to which he was entitled, and it terminated

 him on September 13, 2019. GM did not subject younger employees to this type of unfair and

 discriminatory conduct and subjected Barnes to disparate treatment based on his age.

        34.      At the time of his termination, Barnes was 63-years old.

        35.      During the course of his employment with GM, Barnes was an “employee” within

 the meaning of the Age Discrimination in Employment Act (ADEA), 29 U.S.C. § 630(f).

        36.      GM employs approximately 500 employees at its Bedford facility and is an

 “employer” within the meaning of the ADEA, 29 U.S.C. § 630(b).

        37.      GM engaged in unlawful discrimination in violation of the ADEA when it subjected

 him to disparate treatment, denied him equal employment opportunities and terminated him on

 account of his age.

        38.      GM has willfully and intentionally engaged in discriminatory treatment of Barnes

 on the basis of age and has acted with malice or reckless disregard of Barnes’ rights as an employee

 protected by the ADEA.



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                                      COUNT III – RETALIATION

        39.     All preceding paragraphs of this Complaint are incorporated herein by this

 reference.

        40.     Barnes opposed conduct which he reasonably believed to be discriminatory by

 insisting that GM should permit him to continue working as a crib attendant with the

 accommodation of not being required to operate motorized vehicles.

        41.     Barnes opposed conduct which he reasonably believed to be discriminatory by

 protesting GM’s age and disability discrimination through the grievance procedure in the

 collective bargaining agreement between GM and the UAW.

        42.     Barnes contacted the Equal Employment Opportunity Commission in August or

 early September, 2019, prior to his discharge, and complained that GM was discriminating against

 him on the basis of his age and his disability.

        43.     GM engaged in unlawful retaliation against Barnes by denying him equal

 employment opportunities and then terminating him for his opposition to conduct which he

 reasonably believed to be discriminatory and/or for his participation in the process afforded by the

 Equal Employment Opportunity Commission to remedy unlawful discrimination.

        44.     GM has willfully and intentionally engaged in unlawful retaliation against Barnes

 and has acted with malice or reckless disregard of Barnes’ rights as an employee by denying him

 equal employment opportunities and then terminating him because he opposed GM’s refusal to

 provide him with a reasonable accommodation, because he filed grievances opposing GM’s

 discriminatory conduct and/or because he sought the assistance of the EEOC by communicating

 with EEOC representatives and filing a complaint of age and disability discrimination.




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                                            PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Barnes prays for the judgment of this Court against Defendant

 GM providing the following relief:

        A.      An order directing the Defendant to reinstate the Plaintiff.

        B.      A permanent injunction enjoining GM, its officers, agents, servants, employees,

 attorneys, and all persons in active concert or participating with it, from discriminating or

 retaliating against employees because of their disability or age or their opposition to discriminatory

 conduct or participation in processes of the Equal Employment Opportunity Commission.

        C.       An award of back pay with prejudgment interest for the wages and other

 employment benefits and opportunities that the Plaintiff has lost as a result of the forced medical

 leave to which he was subjected and his subsequent termination from employment with GM.

        D.      Compensatory damages in an amount to be determined by a jury to compensate

 Plaintiff for the emotional distress, mental anguish and other non-pecuniary losses that he has

 suffered because of Defendant's discriminatory and retaliatory conduct.

        E.      Punitive damages in an amount to be determined by a jury to deter Defendant and

 other employers from engaging in discriminatory and retaliatory conduct in the future.

        F.      Liquidated damages in an amount equal to Plaintiff’s lost earnings and benefits

 because of Defendant’s willful violation of the ADEA.

        G.      In the event the Court determines that it would be inappropriate to direct the

 reinstatement of the Plaintiff as an employee of the Defendant, an award of front pay and damages

 to compensate the Plaintiff for the losses that he reasonably will sustain as the result of being

 denied continued employment with the Defendant.

        H.      An award of reasonable attorneys’ fees and costs.



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        I.      Such further relief as the Court deems necessary and proper in the public interest.

                                                    Respectfully submitted,

                                                    MACEY SWANSON LLP
                                                    /s/ Jeffrey Macey____________
                                                    Jeffrey A. Macey, Atty No. 28378-49
                                                    Barry A. Macey, Atty No. 8964-49
                                                    MACEY SWANSON LLP
                                                    445 N. Pennsylvania Street, Suite 401
                                                    Indianapolis, IN 46204
                                                    Phone: (317) 637-2345
                                                    Facsimile: (317) 637-2369
                                                    jmacey@maceylaw.com
                                                    bmacey@maceylaw.com

                                          JURY DEMAND

        Plaintiff, by counsel, requests that this cause be tried to a jury on all issues so triable.



                                                        _s/Jeffrey A. Macey_________________
                                                        Jeffrey A. Macey, Atty No. 28378-49
                                                        Barry A. Macey, Atty No. 8964-49
                                                        Attorneys for Plaintiff


                                      CERTIFICATE OF SERVICE

                The undersigned certifies that on this 20th day of October, 2020, the foregoing

 document was filed electronically using the Court’s ECF system. Copies will be sent to all ECF-

 registered counsel of record by email through the Court’s ECF system.



                                                        _____ Jeffrey A. Macey ______________
                                                               Jeffrey A. Macey




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